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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     –Southern Division–


 CONSTANCE COLLINS, et al.,
                                                                 Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


                          DECLARATION OF CONSTANCE COLLINS

           I, Constance Collins, hereby declare as follows:

           1.     I am of sufficient age and competent to testify from my personal knowledge

concerning the facts set out in this affidavit.

           2.     I derive personal, recreational, educational, and aesthetic benefits from being in the

presence of animals and observing animals in a humane, safe, and psychologically enriching

setting.

           3.     On July 27, 2018, at around 2:30 PM ET, I visited Tri-State Zoological Park of

Western Maryland (Tri-State), at 10105 Cottage Inn Lane NE, Cumberland, MD 21502, with my

husband, Gary Collins, Michelle Raio and her child, and Mark Rund.

           4.     While at Tri-State, I observed several of the animals and their conditions for

approximately one hour. The facility was generally rundown and filthy. Multiple species of

animals were confined to tiny, inappropriate enclosures, and despite the heat, they did not have

apparent access to clean drinking water.




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       5.      I observed an orange tiger lying on the ground with his or her head up and alert.

The tiger’s ears were visibly being eaten by flies, causing blood to drip from both of the tiger’s

ears. The dripping blood was visible from approximately ten feet away. There were several cracks

in the cement substrate of the enclosure. The tiger had no visible drinking water. There was a pool

of water at the far end of the enclosure. The water was brown and filthy.

       6.      According to a sign, the adjacent enclosure confined a white tiger. The white tiger’s

enclosure was overgrown with weeds and other shrubs. I did not see the white tiger.

       7.      In an open pen, I observed a small grey-colored pony lying on the dirt ground. I

initially thought the small pony was dead until it stood up. When the pony attempted to stand, it

appeared lethargic and malnourished. In the same enclosure, I observed three pigs that had no hair

and appeared to have mange. There was an accumulation of feces in their enclosure.

       8.      I also observed a dog, wolf, or wolf-dog hybrid (the “wolf”) pacing in continuous

circles in a small corn-crib. On two different occasions, I observed this repetitive pacing behavior

for a total of approximately five minutes. The wolf was also panting. When leaving the facility, I

asked a female staff member why the wolf had no access to potable water, and commented about

the inadequate size of the enclosure. The wolf was still pacing when I left the exhibit.

       9.      I observed an Asiatic bear lying on her back in the corner of an enclosure. There

was no visible drinking water in the bear enclosure. There was a small pool in the bear enclosure

that was approximately a quarter of the way full with water and covered in green algae and scum.

       10.     I observed Dodger, a singly-housed monkey, scratching, pulling, and picking at his

or her stomach. I did not see any water in the monkey’s small enclosure.




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         11.   I went to look at the reptile exhibit, where another primate apparently was housed

as well. When I opened the door to the reptile exhibit, I could not enter the building because the

smell was so potent and overbearing.

         12.   During my visit to Tri-State, I observed and developed aesthetic and emotional

connections to many of the animals suffering at Tri-State, including the pigs, pony, wolf, and

Dodger.

         13.   Due to the animal mistreatment and suffering that I witnessed, including seeing

animals in deplorable conditions without access to basic necessities like clean water, I was

extremely upset and distressed, and I anguished over their conditions. After my party and I left

Tri-State, I cried and felt sick to my stomach. I wanted to throw up and was almost in a frantic

panic. To this day, I remain upset about the animal mistreatment and suffering that I witnessed.

         14.   I was, and continue to be, so outraged and appalled by the conditions at Tri-State

that I am determined to get help for the animals. As part of my efforts to help the animals at Tri-

State, I contacted the Allegany County Animal Shelter to report what I saw. An Allegany Animal

Control officer eventually told me that they could not do anything about my concerns, after initially

stating that they would take a statement from me. My husband and I also contacted various

government and non-governmental agencies, including the U.S. Department of Agriculture, the

Office of the County Attorney for Allegany County, the Allegany County Sheriff’s Office, and

People for the Ethical Treatment of Animals—with which I have no affiliation—to report what we

observed at Tri-State. My husband and I also contacted news media, including the Herald-Mail

Media.




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